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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

 DIANNE DORMAN,              §
                             §
    Plaintiff,               §
                             §
 v.                          §                     Civil Action No. 4:19-cv-00592-P
                             §
 PHH MORTGAGE CORPORATION §
 AND DEUTSCHE BANK           §
 NATIONAL TRUST COMPANY, AS §
 TRUSTEE FOR SECURITIZED     §
 ASSET BACKED RECEIVABLES    §
 LLC TRUST 2007-NC1, et al., §
                             §
    Defendants.              §

                                    FINAL JUDGMENT

       In accordance with the Court’s March 31, 2021 Order Granting Defendants’ Motion

for Summary Judgment (ECF No. 88):

       It is ORDERED, ADJUDGED, and DECREED that Plaintiff Dianne Dorman’s

claims are DISMISSED without prejudice.

       It is further ORDERED, ADJUDGED, and DECREED that Defendants may

proceed with foreclosure in accordance with the Loan Agreement and Texas Property Code

Chapter 51, or, alternatively, judicial foreclosure.

       It is further ORDERED, ADJUDGED, and DECREED that all costs and expenses

are taxed against the party incurring the same.
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   The Clerk shall transmit a true copy of this Final Judgment to the parties.

   SO ORDERED on this 21st day of April, 2021.




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